Case
 Case1:24-cr-20155-RAR
      9:22-cr-80022-AMC Document
                         Document275-1
                                  799 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket08/31/2023
                                                              03/05/2025 Page
                                                                          Page11ofof77




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 22-80022-CR-CANNON

   UNITED STATES OF AMERICA,

          Plaintiff,
   v.

   THOMAS DOUGHERTY and
   JOHN PAUL GOSNEY, JR.,

          Defendants.
                                                                    /

      ORDER ACCEPTING REPORT AND RECOMMENDATION [ECF No. 762] ON
    GOVERNMENT’S MOTION TO PRECLUDE ADVICE OF COUNSEL DEFENSES OR
         ALTERNATIVELY TO DIRECT PROPER WAIVERS [ECF No. 589]

          THIS CAUSE comes before the Court upon the Government’s Motion to Preclude

   Evidence/Argument Related to Defendants’ Advice-of-Counsel Defenses or Alternatively to

   Direct Proper Waivers (the “Motion”) [ECF No. 589].1       The Court referred the Motion to

   Magistrate Judge Ryon M. McCabe for a report and recommendation [ECF No. 618]. Judge

   McCabe held three hearings on the Motion, one of which was held ex parte with Defendants

   Dougherty and Gosney and their counsel present [ECF Nos. 627, 733, 752]. On August 1, 2023,

   Judge McCabe issued a report recommending that the Motion be granted in part and denied in part

   (the “Report”) [ECF No. 762].       Defendant Dougherty filed a Response to the Report

   [ECF No. 774], Defendant Gosney filed Objections to the Report [ECF No. 777], and the




   1
    For purposes of this Order, the term “Defendants” refers to Defendants Dougherty and Gosney.
   There is one other remaining Defendant, Jose Goyos, who has chosen not to assert an
   advice-of-counsel defense [ECF No. 581].
Case
 Case1:24-cr-20155-RAR
      9:22-cr-80022-AMC Document
                         Document275-1
                                  799 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket08/31/2023
                                                              03/05/2025 Page
                                                                          Page22ofof77

                                                                 CASE NO. 22-80022-CR-CANNON


   Government filed a Response to Defendant Gosney’s Objections [ECF No. 789]. Following

   review, the Report [ECF No. 762] is ACCEPTED.2

                                                         ***

          The Report first concludes that “the waiver associated with the advice-of-counsel defense

   applies to the subject matter of the advice relied upon and not merely to the specific attorney relied

   upon” [ECF No. 762 p. 4 (emphasis in original)]. It is to this portion of the Report that Defendant

   Gosney objects. Specifically, Defendant Gosney argues that because he “waived privilege over

   all communications” with Attorneys Robyn Sztyndor and Keith Fousek, he has met his waiver

   burden and is not required to waive privilege as to communications with Attorneys Aaron Cohen

   or Paul Molle, adding that he “does not intend to rely on legal advice provided by either attorney

   at trial” [ECF No. 777 pp. 2–4]. The Government, in response, agrees with the Report that a

   subject matter waiver is proper because anything less would result in “fundamental unfairness,”

   leading to a situation in which Defendant Gosney could waive privilege as to communications he

   believes are beneficial to his defense but shield from the Government’s view communications with

   other attorneys on that same subject matter [ECF No. 789 p. 2].

          On this point, the Court agrees with the Report. The Report’s conclusion that assertion of

   the advice-of-counsel defense implies a subject matter waiver is in line with the limited authority




   2
     The Report concludes that “[t]o the extent Daniel Carver, or any other Co-Defendant, claims
   privilege over any document subject to [the Report], the Court finds that such privilege must yield
   to Dougherty and Gosney’s Sixth Amendment right to present a defense” [ECF No. 762 p. 8]. The
   Report further provides that “[t]o the extent Daniel Carver or any other Co-Defendant wishes to
   object to [the Report], they may do so in accordance with [the time period] below” [ECF No. 762
   p. 9]. Neither Daniel Carver nor any other co-Defendant filed objections to the Report and the
   time to do so has elapsed [See ECF No. 762 p. 10].



                                                     2
Case
 Case1:24-cr-20155-RAR
      9:22-cr-80022-AMC Document
                         Document275-1
                                  799 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket08/31/2023
                                                              03/05/2025 Page
                                                                          Page33ofof77

                                                                  CASE NO. 22-80022-CR-CANNON


   applying this defense in the criminal context.3 See United States v. Bachynsky, No. 04-20250-CR,

   2007 WL 1521499, at *2 (S.D. Fla. May 22, 2007) (“When a party asserts an advice of counsel

   defense, the party waives the attorney-client privilege as to the subject matter of that advice.”); see

   also United States v. Jensen, 573 F. App’x 863 (11th Cir. 2014) (“By claiming that Mackey lacked

   intent to defraud because attorneys told him that Wealth Enhancement Club transactions were

   legal, Mackey waived the attorney-client privilege with respect to communications with counsel

   concerning its legality.”). While the Court’s prior Order required Defendants to notify of their

   intent to offer an advice of counsel defense by a date certain and also to identify the attorneys who

   provided such advice (and turn over associated communications), the Court did not limit or purport

   to rule on the subject-matter or attorney-specific nature of the waiver required to assert an advice

   of counsel defense.4 In any case, the Court’s Order was not intended to supplant the principle of

   fairness that necessarily follows from the assertion of an advice-of-counsel defense. Defendants




   3
     Courts analyzing the advice-of-counsel defense in the civil context come to the same conclusion
   as to the application of a subject matter waiver. See, e.g., Cox v. Adm'r U.S. Steel & Carnegie, 17
   F.3d 1386, 1422 (11th Cir.), opinion modified on reh’g, 30 F.3d 1347 (11th Cir. 1994) (“The
   subject-matter waiver doctrine provides that a party who injects into the case an issue that in
   fairness requires an examination of communications otherwise protected by the attorney-client
   privilege loses that privilege.”); Akowskey v. Nationstar Mortg., LLC, No. 21-14487-CIV, 2023
   WL 112061, at *3 (S.D. Fla. Jan. 5, 2023) (“Having opened the door to certain privileged
   information in an effort to advance its cause, as a matter of fairness a party must disclose other
   privileged materials involving the subject matter of the disclosed communications.” (internal
   quotation marks omitted)); Inmuno Vital, Inc. v. Telemundo Grp., Inc., 203 F.R.D. 561, 564 (S.D.
   Fla. 2001) (“In determining the scope of the waiver, the overriding consideration is fairness, or
   avoiding prejudice to the opposing party. Therefore, in the interest of fairness, courts have been
   careful not to allow parties to introduce evidence of attorney-client communications favorable to
   the advice of counsel defense, while asserting the privilege with respect to communications that
   may be unfavorable to the defense.” (internal citations omitted)).
   4
     [ECF No. 579 pp. 1–2 (“On or before June 5, 2023, each Defendant shall file a notice indicating
   whether he intends to rely on an advice of counsel defense at trial and shall: (1) identify the
   attorneys who purportedly provided such advice; and (2) waive privilege over and produce to the
   government, all communications he had with those attorneys.”)].


                                                     3
Case
 Case1:24-cr-20155-RAR
      9:22-cr-80022-AMC Document
                         Document275-1
                                  799 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket08/31/2023
                                                              03/05/2025 Page
                                                                          Page44ofof77

                                                                 CASE NO. 22-80022-CR-CANNON


   are not permitted to use the defense as both a “sword and a shield” by waiving privilege over only

   favorable communications, while keeping any potentially unfavorable communications on the

   same subject matter shielded from the Government’s view. See Akowskey, No. 21-14487-CIV,

   2023 WL 112061, at *3. By choosing to assert an advice-of-counsel defense at trial [ECF No. 580

   (Dougherty); ECF No. 582 Gosney)], Defendants must waive privilege over all communications

   involving the subject matter they intend to use as the basis for their defense, regardless of whether

   the communications come from the attorneys Defendants explicitly listed in their Notices or wish

   to select as witnesses.

          Having concluded that a subject matter waiver is required as a condition of asserting an

   advice of counsel defense, the Report proceeds to review the documents over which Defendants

   Dougherty and Gosney continue to assert privilege to determine whether the documents fall within

   the subject matter forming the basis for Defendants’ advice-of-counsel defense [ECF No. 762

   pp. 5–8]. Here, the Report notes, the relevant subject matter is “Defendant’s compliance with

   healthcare laws, rules, and regulations in the running of the business operations described in the

   Superseding Indictment” (the “Subject Matter”) [ECF No. 762 p. 5].5               After Defendants

   substantially narrowed the documents over which they continue to claim privilege, the Report

   determined that, of the 15 documents over which Dougherty claimed privilege, all but one fall

   within the Subject Matter [ECF No. 762 pp. 5–6 (identifying the relevant documents by Bates

   number)] and of the 6 documents Gosney claimed privilege over, three fall within the Subject

   Matter [ECF No. 762 pp. 7–8 (identifying the relevant documents by Bates number)]. Defendants

   otherwise agreed that “the remaining logged documents can be turned over to the Government and




   5
    Neither Defendant objected to the Report’s characterization of the subject matter underlying their
   advice-of-counsel defense [See ECF Nos. 774, 777].


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Case
 Case1:24-cr-20155-RAR
      9:22-cr-80022-AMC Document
                         Document275-1
                                  799 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket08/31/2023
                                                              03/05/2025 Page
                                                                          Page55ofof77

                                                                 CASE NO. 22-80022-CR-CANNON


   to any Co-Defendants who have not yet had access to these documents due to privilege claims”

   [ECF No. 762 pp. 5, 7]. Neither Defendant challenged the Report’s determination about which

   documents fall within the Subject Matter [See ECF Nos. 774, 777].

          In fashioning a remedy, the Report observes that “Defendants cannot simultaneously

   maintain privilege over the [] documents and assert the advice-of-counsel defense at trial”

   [ECF No. 762 p. 9]. As such, the Report requires Defendants to choose between two options:

   either (A) maintain all current privilege objections and forego the use of the advice-of-counsel

   defense at trial; or (B) pursue the advice-of-counsel defense at trial and thereby waive the attorney-

   client privilege over all communications falling within the Subject Matter [ECF No. 762 pp. 9–

   10]. Both Defendants chose Option B [ECF No. 774 p. 1 (Dougherty); ECF No. 777 p. 6 (Gosney

   preserving threshold objection to scope of necessary waiver)]. Because, as noted above, the Court

   has accepted the Report’s recommendation with regard to the application of a subject matter

   waiver, Defendants are deemed to have waived any remaining assertions of privilege over the

   documents identified by the Report as falling within the Subject Matter [ECF No. 762 pp. 5–8].

   This subject matter waiver applies to all documents, communications, and information that fall

   within the Subject Matter, regardless of whether they are specifically identified in the Report or

   on the privilege logs previously submitted to the Filter Team.

          In choosing Option B, Defendant Gosney asks for his counsel to be present at the

   Government’s debriefing of Attorney Cohen so that Gosney’s counsel can object to any privileged

   matters that may arise outside of the scope of the Subject Matter [ECF No. 777 p. 6]. Further,

   Defendant Gosney askes that any documents obtained from a subpoena issued by the Government

   to Attorneys Cohen and Molle first be provided to the Filter Team and to Gosney for an opportunity

   to object, before the documents are provided to the prosecution team for review [ECF No. 777




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Case
 Case1:24-cr-20155-RAR
      9:22-cr-80022-AMC Document
                         Document275-1
                                  799 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket08/31/2023
                                                              03/05/2025 Page
                                                                          Page66ofof77

                                                              CASE NO. 22-80022-CR-CANNON


   p. 6]. As noted in the Government’s Response, the Government and Defendant Gosney have

   conferred and come to an agreement regarding these issues. Specifically, the Government has

   agreed to allow Defendant Gosney’s criminal counsel to observe the Government’s interview of

   Attorney Aaron Cohen and will inform counsel of the date and location of any such interview

   [ECF No. 789 p. 3]. While the Government notes that it does not intend to ask any questions

   outside of the Subject Matter, the Government “does not oppose defense counsel objecting to any

   questions that inadvertently seek information outside the scope of the waiver” [ECF No. 789

   pp. 3–4]. With regard to subpoena returns, the parties have agreed that any returns will first be

   produced to the Filter Team and Defendant Gosney, after which Defendant Gosney will have two

   business days to complete a review of the return and identify any material he deems to be

   privileged and outside the scope of the Subject Matter [ECF No. 789 p. 4].6 The Court agrees with

   the parties’ proposed course of action in facilitating the subpoena returns and other trial

   preparation.

          In light of the Court’s conclusion that a subject matter waiver applies to Defendants’

   assertion of the advice-of-counsel defense and the Defendants’ decision to continue to pursue the

   defense, the Government’s Renewed Motion to Authorize Filter Team to Release Material Subject

   to the Crime-Fraud Exception [ECF No. 773] is DENIED AS MOOT [See ECF No. 773 p. 2

   (“In the event the defendants assert the defense, and such material is released pursuant to the

   subject-matter waiver accompanying the assertion of the advice-of-counsel defense, this Motion

   would be moot.”); ECF No. 774 p. 1 (“[A]s [Dougherty] has chosen Option B, the government’s

   renewed crime-fraud exception is rendered ‘moot’ as to him.”); ECF No. 793 p. 12 (“If the Court



   6
     The parties have further agreed to meet and confer to establish a reasonable timeline for
   Defendant Gosney’s review of the returns should any of the subpoena returns prove to be more
   voluminous than anticipated [ECF No. 789 p. 4].


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Case
 Case1:24-cr-20155-RAR
      9:22-cr-80022-AMC Document
                         Document275-1
                                  799 Entered
                                       Enteredon
                                               onFLSD
                                                  FLSDDocket
                                                       Docket08/31/2023
                                                              03/05/2025 Page
                                                                          Page77ofof77

                                                                CASE NO. 22-80022-CR-CANNON


   adopts the [Report] over Gosney’s objection, the government’s motion . . . should be denied as

   moot.”)].

           Accordingly, it is ORDERED AND ADJUDGED as follows:

           1. The Report [ECF No. 762] is ACCEPTED.

           2. The Government’s Motion to Preclude Evidence/Argument Related to Defendants’

               Advice-of-Counsel Defenses or Alternatively to Direct Proper Waivers [ECF No. 589]

               is GRANTED IN PART AND DENIED IN PART.

           3. The Government shall be permitted to issue subpoenas with expedited return dates

               (within 7 days) to facilitate and streamline any further investigation of the advice of

               counsel defense.

           4. The Government’s Renewed Motion to Authorize Filter Team to Release Materials

               Subject to the Crime-Fraud Exception [ECF No. 773] is DENIED AS MOOT.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 31st day of August

   2023.




                                                        _________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE


   cc:     counsel of record




                                                    7
